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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                            MIAMI DIVISION

                                      Case No.

 TASHMAINE M. FORDE,
 An Individual,

       Plaintiff,
 v.


 CAR AUTO HOLDINGS LLC,
 d/b/a PALMETTO ALFA ROMEO-FIAT,
 A Florida Limited Liability Company,

       Defendant.
 ______________________________/

                          COMPLAINT AND DEMAND
                             FOR JURY TRIAL

       Plaintiff, TASHMAINE M. FORDE (“Plaintiff”), brings this action against

 Defendant, CAR AUTO HOLDINGS LLC., d/b/a PALMETTO ALFA ROMEO-

 FIAT (“Dealer” or “Defendant”), a Florida Limited Liability Company, under the

 Consumer Leasing Act (“CLA”), 15 U.S.C. § 1667, and its implementing

 regulations, 12 C.F.R. § 1013 et seq. (“Regulation M”).

                         JURISDICTION AND VENUE

       1.     The Court has federal question jurisdiction under 28 U.S.C. § 1331

 because the claim arises from the CLA, a federal statute. 15 U.S.C. § 1667d(c).

       2.     Venue is proper before this Court because the acts and transactions

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 giving rise to Plaintiff’s action occurred in this district and Defendant transacts

 business in this district.

                                        PARTIES

        3.      Plaintiff is a natural person who at all relevant times resided in Broward

 County, Florida.

        4.      Defendant was at all relevant times, doing business in Miami-Dade

 County, Florida.

                              FACTUAL ALLEGATIONS

        5.      In November of 2019, Defendant leased a new 2019 Alfa Romeo

 Stelvio (“Vehicle”) to Plaintiff.

        6.      The Vehicle was leased under a Closed End Motor Vehicle Lease

 Agreement (“Lease”) prepared by the Defendant. A copy of the Lease is attached as

 Exhibit “A.”

        7.      In the Lease, Defendant provided Plaintiff with the option to buy the

 Vehicle at the end of the lease term: “You have an option to buy the Vehicle at the

 end of the Lease term for $24,936.10, plus official fees and taxes.” Ex. A, Sec. 9,

 Ln. 1-2.

        8.      The total purchase option price was $24,936.10. (“Purchase Option

 Price”). Ex. A, Sec. 9.

        9.      The Lease did not disclose any other fees or costs to be added to the


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 Purchase Option Price for Plaintiff to exercise the purchase option.

       10.    Plaintiff reasonably relied on these terms, including the Purchase

 Option Price, when agreeing to the Lease.

       11.    In February of 2023, Plaintiff visited Defendant to exercise the

 purchase option.

       12.    To Plaintiff’s surprise, Defendant required Plaintiff to pay a total of

 $27,936.00 as the cash price to buyout the Vehicle, as well as a $985.00 “Predelivery

 Service Charge”.

       13.    The payment of $2,999.90 above and beyond the Purchase Option

 Price, along with the $985.00 “Predelivery Service Charge,” were not official fees.

       14.    Defendant never disclosed the payment of an additional $2,999.90

 above and beyond the Purchase Option Price, nor the $985.00 “Predelivery Service

 Charge” in the Lease as part of the Purchase Option Price.

       15.    Defendant’s failure to honor the Purchase Option Price in the Lease was

 the cause of Plaintiff’s harm, as Plaintiff was left with no choice but to pay the

 additional fees that are contrary to the amount stated as the purchase price in the

 Lease.

          COUNT I AS TO DEFENDANT’S VIOLATION OF FEDERAL
               CONSUMER LEASING ACT 15 U.S.C. § 1667a

       16.    The CLA governs the disclosures in the Lease because the lease term

 ran for 35 months and was for less than $58,300. 15 U.S.C. § 1667(1).

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       17.    Plaintiff is a natural person who leased the Vehicle primarily for

 personal, family, and household purposes. 15 U.S.C. § 1667(1)-(2).

       18.    Defendant had to comply with the CLA’s disclosure requirements

 because it was a “lessor” under the CLA.

       19.    Defendant has leased, offered, or arranged to lease vehicles more than

 five times in the preceding calendar year or more than five times in the current

 calendar year. 15 U.S.C. § 1667(3); Reg. M § 1013.2(h).

       20.    As described above, Defendant had substantial involvement in the lease

 transaction with Plaintiff.

       21.    Upon information and belief, Defendant financially gains on the resale

 of the vehicle at the end of the Lease term.

       22.    The Lease is governed by the disclosure requirements of 15 U.S.C.

 § 1667a and 12 C.F.R. § 213.4.

       23.    The disclosure of the purchase option price in the Lease had to be

 accurate, clear, conspicuous, and complete. 12 CFR § 1013.3(a).

       24.    Defendant violated 15 U.S.C. § 1667 and 12 CFR § 1013.4(i) by

 choosing not to disclose in the purchase option price that payment of an additional

 amount of $2,999.90 above and beyond the Purchase Option Price and the $985.00

 “Predelivery Service Charge” were required to exercise the purchase option at the

 end of the lease.


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       25.      Defendant violated 15 U.S.C. § 1667 and 12 CFR § 1013.4(i) by

 choosing not to disclose in the purchase option price that payment of $3,984.90 more

 than the Purchase Option Price was required to exercise the purchase option at the

 end of the lease.

       26.      Defendant violated 12 CFR § 1013.3(a) because the Purchase Option

 Price was unclear, inaccurate, and incomplete.

       27.      These omissions were material to Plaintiff’s decision to enter into the

 Lease, and Plaintiff detrimentally relied on these material omissions.

       28.      Plaintiff suffered financial loss in that Plaintiff paid $3,984.90 more

 than what the Lease required to buy the Vehicle.

       29.      Plaintiff also paid an inflated amount as and for sales tax on the buyout

 transaction.

       30.      Had Defendant provided an accurate, complete, and clear Purchase

 Option Price in the Lease, which it was required to do, Plaintiff would have

 negotiated better terms or declined to lease the Vehicle.

       31.      Defendant’s illegal conduct was the actual and proximate cause of the

 actual damages suffered by Plaintiff which includes, inter-alia, an inflated sales tax.

       32.      Pursuant to 15 U.S.C. § 1640, Plaintiff is entitled to recover actual and

 statutory damages from Defendant, and reasonable attorney’s fees and costs.




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                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment against Defendant

 as follows:

       A.      Actual and Statutory Damages as provided by law;

       C.      Pre-judgment and post-judgment interest, as allowed by law;

       D.      Reasonable attorneys' fees and costs;

       E.      Injunctive relief requiring Defendant to honor its obligation under its

 Lease agreements to sell the Leased vehicles for the price identified on the Lease

 agreement; and

       F.      Such other and further relief as is just and proper.

                                   JURY DEMAND

               Plaintiff hereby demands a trial by jury on all issues so triable.

                                          Respectfully submitted,

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